      Case 2:18-cv-00050 Document 22 Filed on 09/27/18 in TXSD Page 1 of 1
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                September 27, 2018
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

SONIA JOHNSON,                                §
                                              §
        Plaintiff,                            §
VS.                                           §   CIVIL ACTION NO. 2:18-CV-050
                                              §
MEDICREDIT, INC.,                             §
                                              §
        Defendant.                            §

                                  FINAL JUDGMENT

       Pursuant to the parties’ Stipulation to Dismiss (D.E. 21), the Court enters final

judgment dismissing this action with prejudice.

       ORDERED this 27th day of September, 2018.


                                              ___________________________________
                                              NELVA GONZALES RAMOS
                                              UNITED STATES DISTRICT JUDGE




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